
16 N.Y.2d 854 (1965)
In the Matter of Donald J. Sullivan et al., Appellants,
v.
James M. Power et al., Constituting the Board of Elections of the City of New York, et al., and Anna T. Withey, Respondents.
Court of Appeals of the State of New York.
Argued September 9, 1965.
Decided September 9, 1965.
Joseph Cohen, Kenneth J. Lyman and Robert A. Kahn for appellants.
Miriam M. Robinson and Benjamin Gassman for candidate respondent.
No appearance for remaining respondents.
Concur: Chief Judge DESMOND and Judges DYE, VAN VOORHIS, BURKE, SCILEPPI, REYNOLDS[*] and PENNOCK.[*]
Order affirmed, without costs; no opinion.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in the temporary absence of Judges FULD and BERGAN.

